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EXHIBIT A
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                                EXHIBIT A

                    POLLUTION CONTROL BONDS


                                     BOND SERIES


                             BRAZOS RIVER AUTHORITY


1.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
     Company LLC Project) Series 1994A


2.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
     Company LLC Project) Series 1994B


3.   Brazos River Authority Collateralized Pollution Control Revenue Bonds (Texas
     Utilities Electric Company Project) Series 1995A dated 4/1/1995


4.   Brazos River Authority Collateralized Pollution Control Revenue Bonds (Texas
     Utilities Electric Company Project) Series 1995B dated 6/1/1995


5.   Brazos River Authority Collateralized Pollution Control Revenue Refunding Bonds
     (Texas Utilities Electric Company Project) Series 1999A dated 3/1/99


6.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
     Company Project) Series 1999B Amended & Restated 12/1/01


7.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
     Company Project) Series 1999C Amended & Restated 12/1/01


8.   Brazos River Authority (TX) Pollution Control Revenue Refunding Bonds (TXU
     Electric Company Project) Series 2001A dated 4/1/01


9.   Brazos River Authority (TX) Pollution Control Revenue Refunding Bonds (TXU
     Electric Company Project) Series 2001B dated 11/1/01
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10.   Brazos River Authority (TX) Pollution Control Revenue Refunding Bonds (TXU
      Electric Company Project) Series 2001C dated 11/1/01


11.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
      Company Project) Series 2001D -1


12.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
      Company Project) Series 2001D -2


13.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
      Company Project) Taxable Series 2001I dated 12/1/01


14.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
      Company LLC Project) Series 2002A dated 5/1/02


15.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
      Company LLC Project) Series 2003A dated 3/1/03


16.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
      Company LLC Project) Series 2003B


17.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
      Company LLC Project) Series 2003C dated 10/1/03


18.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
      Company LLC Project) Series 2003D


19.   Brazos River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
      Company LLC Project) Series 2006 dated 3/1/06


                              SABINE RIVER AUTHORITY


20.   Sabine River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
      Company Project) Series 2000A


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21.   Sabine River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
      Company Project) Series 2001A


22.   Sabine River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
      Company Project) Series 2001B


23.   Sabine River Authority Pollution Control Revenue Refunding Bonds (TXU Electric
      Company Project) Series 2001C


24.   Sabine River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
      Company LLC Project) Series 2003A


25.   Sabine River Authority Pollution Control Revenue Refunding Bonds (TXU Energy
      Company LLC Project) Series 2003B


                              TRINITY RIVER AUTHORITY


26.   Trinity River Authority of Texas Pollution Control Revenue Refunding Bonds
      (TXU Electric Company Project) Series 2000A


27.   Trinity River Authority of Texas Pollution Control Revenue Refunding Bonds
      (TXU Electric Company Project) Series 2001A




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